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IN TI'IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENN'ESSEE
WESTERN DIVISION

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ROB§QT R.EFTROUC

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO.

VS.

WILLIAM BARRY MORRIS,

-._r~_._,~_»-_»-_/~._/~._r\-._¢-.z

Defendant.

 

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W.D. OF TN, J\AEMPHIS

05-20088-Ma

 

ORDER ON CONTINUANCE AND SPECIF'YING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21,

2005.

Defense counsel requested a continuance of the present trial date

in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the

rotation docket beginning July 5, 2005 at 9:30 a.m.,

With a report

date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare

outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of May, 2005.

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SAMUEL H. MAYS, JR.

 
 
 

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nil 1 male 55 and/or 32(b) FRCrF’ on

UNITED STATES DISTRICT JUDGE

 

 

UNITED 8TATE DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20088 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

